     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 1 of 29 Page ID #:7552



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15
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                No. CR 22-482-GW
17
                Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
18
                      v.                      Sentencing Date: May 2, 2024
19                                            Sentencing Time: 8:00 a.m.
     JERRY NEHL BOYLAN,
20
                Defendant.
21

22

23         Plaintiff United States of America, by and through its counsel
24   of record, the United States Attorney for the Central District of
25   California and Assistant United States Attorneys Mark Williams,
26   Matthew O’Brien, Brian Faerstein, and Juan Rodriguez, hereby files
27   its Sentencing Position for defendant JERRY NEHL BOYLAN.
28
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 2 of 29 Page ID #:7553



1          This Sentencing Position is based upon the attached memorandum

2    of points and authorities, the Presentence Investigation Report and

3    United States Probation Office sentencing recommendation letter,

4    victim impact statements, trial testimony and exhibits, the files and

5    records in this case, and such further evidence and argument as the

6    Court may permit at the sentencing hearing.

7     Dated: April 18, 2024                Respectfully submitted,

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12                                               /s/
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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 3 of 29 Page ID #:7554



1                                   TABLE OF CONTENTS

2    I.    INTRODUCTION...................................................1

3    II.   STATEMENT OF FACTS.............................................3

4          A.    The Conception............................................3

5          B.    Defendant’s Failure to Use a Roving Patrol................5

6          C.    Defendant’s Failure to Train and Drill His Crew...........6

7          D.    The Labor Day Weekend Dive Trip in 2019...................7

8          E.    The Fire..................................................9

9          F.    The Victims..............................................10
10   III. THE USPO’S PRESENTENCE INVESTIGATION REPORT AND
          RECOMMENDATION................................................12
11
     IV.   SENTENCING GUIDELINES ANALYSIS................................13
12
           A.    Reckless Operation of Means of Transportation............13
13
           B.    Abuse of Position of Trust or Use of Special Skill.......17
14
           C.    Grouping / Multiple Unit Adjustment......................19
15
     V.    THE GOVERNMENT’S SENTENCING RECOMMENDATION....................20
16
           A.    Nature and Circumstances of the Offense..................21
17
           B.    Defendant’s History and Characteristics..................23
18
           C.    Seriousness of the Offense, Promoting Respect for the
19               Law, and Just Punishment.................................24

20         D.    Deterrence...............................................25

21   VI.   CONCLUSION....................................................25

22

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28
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 4 of 29 Page ID #:7555



1                                 TABLE OF AUTHORITIES

2                                                                               Page(s)
3    Federal Cases
4    United States v. Calderon,
       127 F.3d 1314 (11th Cir. 1997) ................................... 18
5

6    United States v. Contreras,
       581 F.3d 1163 (9th Cir. 2009) .................................... 17
7
     United States v. Ibarguen Palacios,
8      815 F. App’x 481 (11th Cir. 2020) ................................ 19
9    United States v. Technic Servs., Inc.,
10     314 F.3d 1031 (9th Cir. 2002) ................................ 18, 19

11   Statutes

12   18 U.S.C. § 1112................................................... 14
     18 U.S.C. § 1115................................................... 14
13   18 U.S.C. § 3553(a)................................................ 21
     18 U.S.C. § 3661.................................................... 8
14   18 U.S.C. § 3771(a)(4)............................................. 24
15
     Rules
16
     U.S.S.G. § 2A1.4............................................... 13, 14
17   U.S.S.G. § 2A1.4(a)(2)(B)...................................... 13, 14
     U.S.S.G. § 3B1.3........................................... 13, 17, 18
18   U.S.S.G. § 3D1.4............................................... 13, 19
     U.S.S.G. § 5K2.0(a)(3)............................................. 20
19   U.S.S.G. § 5K2.1................................................... 21
20

21   Regulations
22
     46 C.F.R. § 176.100................................................. 6
23   46 C.F.R. § 185.410................................................. 6
     46 C.F.R. § 185.420(a).............................................. 7
24   46 C.F.R. § 185.506(a).............................................. 8
     46 C.F.R. § 185.524(a).............................................. 7
25

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 5 of 29 Page ID #:7556



1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          Defendant JERRY NEHL BOYLAN killed 34 innocent people.           These

4    husbands, wives, fathers, mothers, children, and friends died because

5    of his reckless conduct.      Defendant has never apologized, much less

6    taken any responsibility for the atrocity he caused.           The victim

7    impact statements filed with the Court make clear how defendant’s

8    conduct devastated dozens of families:

9               “My family and I were devastated. My parents, who
           were 94 and 98 at the time, were stunned into grief that
10         they carried to their own graves.”
11
                “Losing him was not only the worst thing that has ever
12         happened to me in my entire life, but has impacted and
           devastated so many other people.”
13
                “Boylan’s reckless actions shattered the foundation of
14         our existence and left a trail of devastation and despair.”
15              “[My loved one’s life was] cut short along with 33
16         others because of the sheer laziness and negligence of
           Jerry Boylan to do his job. She was just 26 years old.
17         Jerry Boylan has had the opportunity to live his life free
           for the past 5 years while we have gone through hell,
18         reliving the tragedy over and over...”
19              “On September 2, 2019 my entire world crumbled.
20         Finding the words to encompass the amount of hurt I have
           endured due to Jerry Boylan’s actions and inactions has
21         been an impossible task.”

22              “Captain Boylan’s blatant and reckless disregard for
           his duties under maritime law and Coast Guard regulations
23         requiring roving watch when humans are aboard a vessel
           overnight blew my life apart in ways I could never have
24
           imagined before September 2nd, 2019.”
25
                “My daughter will not have her father here to walk her
26         down the aisle. My son will never have his father witness
           the man he has become. The list of losses is endless and I
27         will not share every single one in this statement. As
           there are just too many. Jerry Boylan took this all away
28
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 6 of 29 Page ID #:7557



1          when he decided to write his own rules of engagement for
           his vessel and disregard the law.”
2
                “For much of your career, you rolled the dice – with
3
           your passengers’ lives being the stakes. Except, they, not
4          being aware of the rules, trusted you with their lives,
           unaware of the risks that you and others exposed them to.
5          These 34 entrusted you to be a responsible mariner, to act
           prudently, in accord with best practices and the law. You
6          failed. And they and we suffered because of that.”
7               “Your hopes and dreams shattered in a tragedy that
8          should have never happened. A disaster that could have
           been avoided by the expert who was paid to follow minimum
9          protections but ignored obligations.”

10         As a seasoned captain with decades of experience, defendant knew

11   that his core duty was, above all else, to keep his 33 passengers and

12   5 crewmembers safe.      He was the Captain of the ship.       He, alone, was

13   in command of the Conception and responsible for the lives of his

14   passengers and crew on September 2, 2019.         Despite this

15   responsibility, defendant set sail on the Labor Day Weekend trip with

16   full knowledge of the potentially catastrophic consequences of his

17   reckless conduct.     He knew that his crew was inexperienced and that

18   he had not trained them to fight a fire.         He knew that he had never

19   conducted a single fire drill with his crew.          He knew that he

20   habitually ignored the most basic tenet of maritime fire safety in

21   failing to maintain a roving patrol at night.

22         The stakes were life and death.       And yet defendant did nothing

23   to keep his passengers and crew safe -- in the days, weeks, months,

24   and years leading up to the Labor Day Weekend trip, and on the night

25   of the fire itself.      Predictably, when the fire started and grew

26   without any crewmember awake to detect and contain it, chaos ensued

27   amongst his inexperienced and untrained crew.          Compounding his

28   reckless failures and misconduct in the lead-up to the fire, during

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 7 of 29 Page ID #:7558



1    the fire defendant failed to alert his passengers of the fire, failed

2    to direct his crew on how to fight the fire, and failed to attempt

3    any rescue whatsoever.

4          Instead, defendant saved himself.        He was the first to abandon

5    ship.     He instructed his crew to do the same, multiple times.          In so

6    doing, he left all 34 victims onboard the Conception to die.

7          Both the government and the United States Probation Office

8    (“USPO”) respectfully request that the Court sentence defendant to

9    the statutory maximum 10-year term of imprisonment.           Anything less is
10   insufficient to achieve the goals of sentencing and appropriately
11   account for the 34 deaths that defendant caused.
12   II.   STATEMENT OF FACTS 1
13           A.   The Conception

14           The Conception was a 75-foot, wood and fiberglass passenger

15   vessel based in Santa Barbara, California.         Defendant had been the

16   captain of the Conception for decades and had obtained his Master’s

17   License in 1985.     (Trial Exh. 4.)     The Conception was used to take

18   passengers on dive trips, wildlife viewing trips, and other

19   excursions to the Channel Islands.        For overnight trips, the

20   Conception operated with six crewmembers –- a captain (almost always

21   defendant), second captain, two deckhands, and two galleyhands.

22           Passengers slept in the Conception’s bunkroom, which was located

23   below the main deck.      A staircase led down from the galley on the

24   main deck into the bunkroom below deck.         The Conception also had one

25   emergency exit from the bunkroom –- an escape hatch in the ceiling

26

27
           1Unless otherwise indicated, the facts described herein are set
28   forth in the Presentence Investigation Report (“PSR”) filed on March
     28, 2024. (See Dkt. No. 404.)
                                        3
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 8 of 29 Page ID #:7559



1    above two of the center bunks, which could be opened to lead to the

2    salon on the main deck.

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9                  Trial Exh. 60                          Trial Exh. 119

10         Despite the vital importance of the escape hatch to passengers’
11   safety, defendant was dismissive of it.         During the “morning
12   briefings” on the first day of his overnight dive trips (after his
13   passengers had already slept in the bunkroom while the Conception was
14   docked the night before departure), defendant failed to show his
15   passengers where to access the escape hatch from inside the bunkroom,
16   despite the difficulty of finding the escape hatch in the dark.             (See
17   Trial Exh. 93 (video showing how difficult it was to find the escape
18   hatch from within the bunkroom).)
19         The Conception also had a wide range of firefighting equipment,
20   all of which was in good working order at the time of the Labor Day
21   Weekend trip.     The boat had approximately six fire extinguishers
22   spread around all three of its decks.         There also was a fire axe in
23   the wheelhouse.     The engine room below deck had a specialized
24   firefighting system in the event of an engine fire.           The Conception
25   had smoke detectors in the bunkroom and heat sensors in the galley.
26         The Conception also had two firefighting stations located on the
27   port and starboard sides of the main deck.         Each station had a heavy
28   duty, 50-foot firehose connected to a fire pump that could pump
                                             4
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 9 of 29 Page ID #:7560



1    unlimited amounts of water from the ocean through the hoses to fight

2    a fire.      Both fire stations could be used at the same time.

3          At trial, surviving crewmembers testified that defendant never

4    trained or drilled them on how to use the firehoses onboard the

5    Conception.      First Deckhand Milton French had never used or activated

6    the Conception’s firehoses nor seen them activated, had never seen

7    them unspooled from their stations, and had never done a fire drill

8    on the Conception.      (Dkt. No. 361 at 170:16-18, 171:2-5, 172:5-6,

9    172:21-173:2.)      Second Captain Cullen Molitor was never instructed
10   how to use the firehoses, never used or activated one, and had never
11   done a fire drill on the Conception.         (Dkt. No. 364 at 75:22-76:9,
12   77:3-78:4; Dkt. No. 365 at 13:12-14.)         First Galleyhand Ryan Sims was
13   never shown how to use the firehoses or where they were located and
14   had never done a fire drill on the Conception.          (Dkt. 363 at 11:1-7.)
15   And Second Galleyhand Michael Kohls, who was the longest tenured
16   crewperson on the Conception at just under two years as of the time
17   of the fire, never received training on the firefighting equipment on
18   the Conception and never took part in or saw fire drills on the ship.

19   (Dkt. No. 362 at 153:18-154:18.)

20         B.      Defendant’s Failure to Use a Roving Patrol

21         Defendant was required to comply with the Coast Guard’s “T-Boat”

22   regulations (so named for Subchapter T of Title 46, Chapter I of the

23   Code of Federal Regulations) as well as the Conception’s two-page

24   Certificate of Inspection (“COI”), which was the ship’s operating

25   license issued by the Coast Guard.          The COI hung in a frame in the

26   Conception’s wheelhouse, right behind where defendant steered the

27   ship.      The COI set forth the following requirement in capital letters

28   on the first page:

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 10 of 29 Page ID #:7561



1          A MEMBER OF THE VESSEL’S CREW SHALL BE DESIGNATED BY THE

2          MASTER AS A ROVING PATROL AT ALL TIMES, WHETHER OR NOT THE

3          VESSEL IS UNDERWAY, WHEN THE PASSENGER’S BUNKS ARE OCCUPIED.

4     (See Trial Exh. 26.)     This “roving patrol” requirement first appeared

5     in the Conception’s COI in 1992 and was included in every COI issued

6     for the Conception since then.       (See Trial Exh. 27 (the Conception’s

7     COIs over the past three decades).)         Coast Guard regulations required

8     defendant to “be in full compliance” with the Conception’s COI “when

9     any passengers are aboard.”      46 C.F.R. § 176.100.
10         In addition to the COI’s requirement for a roving patrol, Coast

11    Guard regulations also required defendant to use a roving patrol:

12         The owner, charterer, master, or managing operator of a
           vessel carrying overnight passengers shall have a suitable
13         number of watchmen patrol throughout the vessel during the
           nighttime, whether or not the vessel is underway, to guard
14
           against, and give alarm in case of, a fire, man overboard,
15         or other dangerous situation.

16    46 C.F.R. § 185.410 (emphasis added).        The purpose of the roving

17    patrol was to ensure that a crewmember was awake and patrolling the

18    boat at night to spot a fire or identify any other emergencies.

19         When defendant became a licensed Captain in 1985, he swore an

20    oath, “according to my best skill and judgment, and without

21    concealment or reservation, [to] perform all duties required of me by

22    the laws of the United States.”       (Trial Exh. 4 at 4.)      Despite his

23    oath and the Coast Guard’s requirements, defendant never used a

24    roving patrol –- not on the night of the fire, nor on hundreds of

25    prior voyages, despite the catastrophic risk of a fire while at sea.

26         C.    Defendant’s Failure to Train and Drill His Crew

27         Coast Guard regulations made clear defendant’s duty as the

28    master to train his crew in firefighting.         Most notably:

                                              6
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 11 of 29 Page ID #:7562



1          Fire Fighting Drills and Training. The master shall
           conduct sufficient fire drills to make sure that each crew
2          member is familiar with his or her duties in case of a
           fire.
3

4     46 C.F.R. § 185.524(a) (emphasis added).         Likewise:

5          Crew Training. The owner, charterer, master or managing
           operator shall instruct each crew member, upon first being
6          employed and prior to getting underway for the first time
           on a particular vessel and at least once every three
7          months, as to the duties that the crew member is expected
           to perform in an emergency including, but not limited to,
8          the emergency instructions listed on the emergency
9          instruction placard required by § 185.510 of this part and,
           when applicable, the duties listed in the station bill
10         required by § 185.514 of this part.

11    46 C.F.R. § 185.420(a) (emphasis added).
12         Despite his duty to do so, defendant failed to train his crew
13    for the Labor Day Weekend trip regarding firefighting and to ensure
14    each crewmember was aware of their duties in the event of a fire, as
15    Truth Aquatics’ internal Loss Control Program required him to do.
16    (Trial Exh. 127.)     And, as explained above, defendant failed to
17    conduct any fire drills on the Conception.         This was particularly
18    egregious given that his crew had very little experience working on
19    the Conception (or any other boats).
20         D.    The Labor Day Weekend Dive Trip in 2019
21         The destination for the Labor Day Weekend trip was Santa Cruz
22    Island, a remote location in the Channel Islands.          The Conception was
23    scheduled to depart Santa Barbara Harbor at 4:00 a.m. on August 31,
24    2019, the normal departure time for overnight dive trips.           As was
25    defendant’s practice, he permitted passengers to board the vessel on
26    the night before the trip, even though no crewmembers were onboard.
27         On both the Conception’s final voyage and prior voyages,
28    defendant waited to give his “morning briefing” to passengers until
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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 12 of 29 Page ID #:7563



1     several hours after the Conception had sailed from the dock at Santa

2     Barbara Harbor (i.e., after passengers already had slept overnight in

3     the bunkroom without a roving patrol).        This is akin to a flight

4     attendant waiting until after an airplane is airborne to give the

5     safety briefing.     Defendant’s practice violated Coast Guard

6     regulations, which required the passenger safety orientation to be

7     given “before getting underway on a voyage.”         46 C.F.R. § 185.506(a).

8          During the first two days of the Labor Day Weekend trip,

9     passengers went scuba diving each day, ate their meals together in
10    the salon on the main deck, and each night slept in the bunkroom.
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17         Trial Exh. 155             Trial Exh. 186 2            Trial Exh. 171

18         On September 1, 2019, the night before the fire, the passengers
19    and crew had a birthday party in the salon on the main deck.            Tia
20    Nicole Adamic-Salika (pictured above in sunglasses with her friend
21    Berenice Felipe during the Labor Day Weekend trip) celebrated her
22    17th birthday with cakes for the occasion.         Tia and Berenice were on
23    the trip with Tia’s parents, Diana Adamic and Steven Salika.            The
24    Quitasol family –- sisters Angela, Nicole, and Evan Quitasol, their
25

26
           2 Several photographs contained herein were marked as government
27    trial exhibits but not admitted into evidence. The Court may, of
      course, consider any “information concerning the background,
28    character, and conduct of a person convicted of an offense” for
      purposes of sentencing. 18 U.S.C. § 3661.
                                         8
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 13 of 29 Page ID #:7564



1     father, Michael, and stepmother, Fernisa Sison –- celebrated

2     Michael’s 62nd birthday at the party as well.

3          Defendant then moved the boat to Platt’s Harbor near Santa Cruz

4     Island, where they anchored around 10:30 p.m.         The crew and

5     passengers went to sleep.      As was defendant’s practice, there was no

6     roving patrol that night.

7          E.      The Fire

8          In the middle of the night on September 2, 2019, a fire started

9     while defendant and his crew were asleep.         After a crewmember saw the
10    fire and woke up defendant, several crewmembers lowered themselves to
11    the main deck where the fire had started.         Second Galleyhand Kohls,
12    the first crewmember to reach the main deck, ran past the fire
13    station on the port side of the main deck twice, not knowing that the
14    fire station was there or how to use it.         Instead of giving his crew
15    meaningful direction (especially in light of his prior failures to
16    train or drill them), or going to the main deck to fight the fire or
17    assist his crew, defendant made a Mayday call from the wheelhouse and
18    then jumped off the ship -– he was the first person to jump

19    overboard.     He then ordered his crew to jump overboard as well, even

20    though 34 people were alive in the bunkroom, waiting to be rescued.

21         At no time did defendant use, or direct or assist any crewmember

22    in using, the fire axe, fire extinguisher, or fire hoses to fight the

23    fire.     While defendant told First Galleyhand Sims to grab a fire

24    extinguisher in the wheelhouse, defendant did not help him do so and

25    quickly told Sims to abandon ship when Sims was unable to find it.

26    (Dkt. No. 363 at 16:4-5, 17:12-14.)         And although defendant called

27    the Coast Guard -- despite the fact that rescuers were miles away --

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 14 of 29 Page ID #:7565



1     defendant failed to use the ship’s public address system to alert the

2     passengers about the fire or provide any directions to anyone.

3          All 34 people in the bunkroom were killed in the fire due to

4     smoke inhalation.     At trial, the jury found that defendant’s gross

5     negligence and misconduct before and during the fire caused the

6     deaths of the 34 victims aboard the Conception.

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13                                    Trial Exh. 229
14         F.    The Victims
15         The victims ranged in age from sixteen to 62-years-old.            Many
16    embarked on the Conception with their families, partners, or friends
17    for the Labor Day Weekend diving excursion; others traveled alone.
18    (Dkt. No. 360 at 109:23-114:7).       All trusted defendant to keep them

19    safe, putting their lives in his hands.

20    //

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 15 of 29 Page ID #:7566



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11                                    Trial Exh. 296
12         During the fire, after defendant abandoned them, the victims
13    were awake and awaiting rescue.       Many were found wearing shoes
14    (including at least one victim with mismatched shoes) -– proving that
15    the victims were awake and trying to escape from the bunkroom.            One
16    victim was recovered holding a cell phone, and another was holding a
17    flashlight.    Divers recovered several victims’ bodies clutching each
18    other so tightly that it was difficult to separate the bodies.            These
19    victims had been hugging each other when they were killed.
20         Divers also found an empty fire extinguisher with the pin pulled
21    in the wreckage.     (Trial Exh. 271.)      Because the surviving crew
22    members told investigators that none of them used a fire extinguisher
23    during the fire, the fire extinguisher must have been used by someone
24    in the bunkroom.     Indeed, the recovered extinguisher was the same
25    model as the extinguisher that had been stored in the bunkroom.
26         The FBI was able to recover a video from the iPhone of Patricia
27    Beitzinger, one of the victims.       The damaged iPhone had been found in
28    her coat pocket in the wreckage on the seafloor.          Metadata that the
                                             11
     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 16 of 29 Page ID #:7567



1     FBI recovered from the iPhone showed that she had taken the video at

2     3:17 a.m. on September 2, 2019 – i.e., three minutes after defendant

3     had made the Mayday call and jumped overboard.          The video confirmed

4     that the 34 victims in the bunkroom were awake during the fire and

5     could have been rescued were it not for defendant’s failure to: (1)

6     use a roving patrol, (2) train and drill his crew in firefighting,

7     (3) direct and assist his crew on the night of the fire, and (4)

8     attempt to fight the fire himself.          Victims can be heard saying

9     “there’s gotta be a way out,” “there’s got to be more extinguishers,”
10    “unless we can get outta here,” and “we’re gonna die.”           (Trial Exh.
11    180A.)
12         The video (Trial Exh. 180) is disturbing to watch, but is

13    perhaps the most compelling evidence of defendant’s reckless

14    disregard for human life:      had defendant taken even the most basic

15    safety precautions in the lead-up to the fire as he was required to

16    do, or acted with any courage or composure during the fire, some or

17    all of the 34 people in the bunkroom could have been saved.

18    III. THE USPO’S PRESENTENCE INVESTIGATION REPORT AND RECOMMENDATION

19         The PSR and sentencing recommendation letter were filed on March

20    28, 2024.   (Dkt. Nos. 403 and 404.)        The USPO found that a Sentencing

21    Guidelines range of 87-108 months applies (based on an offense level

22    29 and criminal history category I), and recommends that the Court

23    sentence defendant to 10 years in prison, a three-year term of

24    supervised release, and a special assessment of $100.           (Dkt. No. 403,

25    pp. 1-2.)   The USPO also recommends that the Court schedule a

26    deferred restitution hearing after imposing the sentence.           (Id.)

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 17 of 29 Page ID #:7568



1           The government concurs with the USPO’s Guidelines calculations

2     (discussed further below) and recommended sentence, and does not

3     object to the PSR.

4           Defendant filed objections to the PSR on April 15, 2024, in

5     which he objects to the Guidelines calculations as well as factual

6     assertions in the PSR.      (Dkt. No. 415.)    The government will respond

7     to defendant’s objections in a separate filing.

8     IV.   SENTENCING GUIDELINES ANALYSIS

9           The USPO found that the following Guidelines apply:
10          Reckless operation of
            means of transportation:                22    USSG § 2A1.4(a)(2)(B)
11
            Abuse of position of trust:             +2    USSG § 3B1.3
12

13          Multiple unit adjustment:               +5    USSG § 3D1.4

14          Total offense level:                    29

15          Guidelines range:                       87-108 months
16

17          The government concurs and provides the following analysis

18    regarding the applicable substantive Guidelines sections and a one-

19    level upward departure/variance that is warranted in this case.

20          A.   Reckless Operation of Means of Transportation

21          Guidelines section 2A1.4(a)(2)(B) applies a base offense level

22    of 22 if defendant is found to have recklessly operated a means of

23    transportation, including a boat.       Application Note 1 to section

24    2A1.4 defines “reckless” as follows:

25          “Reckless” means a situation in which the defendant was
            aware of the risk created by his conduct and the risk was
26          of such a nature and degree that to disregard that risk
            constituted a gross deviation from the standard of care
27          that a reasonable person would exercise in such a
            situation. “Reckless” includes all, or nearly all,
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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 18 of 29 Page ID #:7569



1          convictions for involuntary manslaughter under 18 U.S.C.
           § 1112.
2

3     U.S.S.G. § 2A1.4, cmt. N.1.

4          Defendant requested (and obtained) a jury instruction at trial

5     requiring a unanimous finding that defendant acted recklessly.            The

6     jury instructions confirm that the jury found (beyond a reasonable

7     doubt) that defendant acted “with wanton or reckless disregard for

8     human life.”    (See Dkt. No. 320 (Final Jury Instructions) at 4.)

9     Indeed, the Court instructed the jury, at defense counsel’s request,

10    that “[t]o establish reckless disregard for human life, it must be

11    shown that (1) Defendant was aware of the serious risk to human life

12    which his conduct created, or Defendant knew of facts which, if

13    considered and weighed in a reasonable manner, indicate a substantial

14    and unjustifiable risk to human life; and (2) he deliberately

15    disregarded that substantial and unjustifiable risk of creating a

16    potentially life-threatening condition of which we was aware.”            (Id.)

17    In other words, the heightened standard imposed by the Court -– and

18    found by the jury beyond a reasonable doubt –- was actually higher

19    than the “reckless” standard encompassed within Section

20    2A1.4(a)(2)(B).

21         Moreover, Application Note 1 recognizes that “‘reckless’

22    includes all, or nearly all, convictions for involuntary manslaughter

23    under 18 U.S.C. § 1112.”      U.S.S.G. § 2A1.4, cmt. N.1.       Throughout

24    this case, defense counsel and the Court have repeatedly analogized

25    seaman’s manslaughter (18 U.S.C. § 1115) to involuntary manslaughter

26    (18 U.S.C. § 1112).     The Court dismissed the original indictment

27    specifically because it did not satisfy the pleading requirements of

28    18 U.S.C. § 1112.     (See Case No. 20-CR-600-GW, Dkt. No. 79.)         The

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 19 of 29 Page ID #:7570



1     government obtained a new indictment in this case alleging, among

2     other things, that defendant “acted with a wanton or reckless

3     disregard for human life by engaging in misconduct, gross negligence,

4     and inattention to his duties on [the Conception].”          (Dkt. No. 1 at

5     2.)    The indictment further alleged that defendant knew “that his

6     conduct was a threat to the lives of others, and kn[ew] of

7     circumstances that would reasonably cause him to foresee that his

8     conduct might be a threat to the lives of others.”          (Id. at 5.)    And

9     the Court, at the defense’s request, has borrowed from and used jury
10    instructions, elements, and standards from involuntary manslaughter
11    cases throughout this proceeding, including in the final jury
12    instructions.    Accordingly, the base offense level is 22 because the
13    jury necessarily found beyond a reasonable doubt that defendant acted
14    recklessly (as defined by the Guidelines and its ordinary meaning),
15    and he did so operating the Conception, a means of transportation.
16           Consistent with the jury’s finding that defendant acted with a

17    wanton and reckless disregard for human life, the evidence also

18    establishes that defendant acted recklessly as that term is defined

19    in Section 2A1.4.     In addition to defendant’s numerous failures

20    described above, that evidence also includes the following:

21       •   There were fires on the Condor Express (the Conception’s
22           neighbor at the Santa Barbara dock) and a fire involving

23           charging batteries onboard the Vision (the Conception’s sister

24           ship), which put defendant on notice of the (obvious) risk of

25           fire at sea, but defendant did not change his behavior one bit

26           in response to those fires.     (PSR ¶ 23.)

27       •   Despite the obvious risk that overcharging of batteries posed
28           every night on the Conception, defendant failed to instruct his

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 20 of 29 Page ID #:7571



1            passengers not to charge their batteries overnight or to

2            implement a roving patrol at night -- as the COI and regulations

3            required him to do -- while the batteries were charging.

4        •   When galley crewmember Ryan Sims asked defendant to discuss
5            safety measures on the Conception on the day before the fire,

6            defendant was dismissive, “chuckled,” and told Sims: “When we

7            get to it, Ryan.”    (Dkt. No. 363 at 13:4-11, 46:20-25.)

8        •   When passenger Mark Copple complained to defendant that a
9            passenger’s beer cooler was blocking the bunkroom’s escape
10           hatch, defendant told Copple that there was nowhere else on the
11           75-foot ship to put the beer cooler.       (PSR ¶ 22, 22 n.1.)
12       •   Defendant, a smoker, failed to give his passengers any guidance
13           on where and when they could smoke cigarettes or how to dispose

14           of their cigarette butts.     (Id. ¶ 28.)
15       •   It would have cost nothing for defendant to train and drill his
16           crew regarding the location of the fire hoses and how to use

17           them.   And it would have taken only 10 or 15 minutes to do so,
18           including during leisure time the surviving crewmembers

19           testified they and other crewmembers had while working on a

20           trip.   (See Dkt. No. 362 at 48:8-12, 129:14-130:12; Dkt. No. 341

21           at 11:11-12:5, 13:17-14:8.)

22       •   It would have cost nothing to use a roving patrol.         The
23           Conception had six crewmembers on overnight trips –- defendant

24           easily could have implemented a roving patrol using two-hour

25           shifts for each crewmember throughout the night, as other

26           captains routinely did.     (One such captain, David Harvey,

27           testified about the ease of implementing a roving patrol on a

28           comparable dive boat.)    (See, e.g., Dkt. No. 352 at 50:15-53:9.)

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 21 of 29 Page ID #:7572



1        •   The Conception was a relatively small ship –- all that a roving
2            patrol would have needed to do was patrol the main deck and

3            periodically check the salon, bunkroom, engine room, and

4            wheelhouse for a fire.    A fire at night would have been easily

5            visible to anyone.

6            Yet defendant did nothing to mitigate the risk of a catastrophic

7     fire on the Conception.      Instead, he acted recklessly by disregarding

8     his legal obligations to use a roving patrol, to train and drill his

9     crew regarding firefighting, and to ensure his passengers’ safety.
10           B.    Abuse of Position of Trust or Use of Special Skill
11           Section 3B1.3 provides for a two-level upward adjustment if
12    defendant “abused a position of public or private trust, or used a
13    special skill, in a manner that significantly facilitated the
14    commission or concealment of the offense.”         This enhancement applies
15    for at least two reasons.
16           First, defendant abused his position of private trust (if not

17    also public trust) as a licensed captain authorized to take

18    passengers out to sea.      He swore an oath to uphold the law, including

19    complying with Coast Guard regulations and the Conception’s COI, for

20    the benefit of his passengers and crew.        In turn, they trusted that

21    he would do so to keep them safe in the remote waters of the Pacific

22    Ocean.      Defendant exercised virtually unfettered “professional [and]

23    managerial discretion (i.e., substantial discretionary judgment that

24    is ordinarily given considerable deference)” in his operation of the

25    Conception.     U.S.S.G. § 3B1.3 cmt. n.1.     This exercise of discretion

26    is the “decisive factor” and “explicit focus” in the application of

27    the abuse of trust enhancement.       United States v. Contreras, 581 F.3d

28    1163, 1166 (9th Cir. 2009), aff’d in part, vacated in part en banc,

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 22 of 29 Page ID #:7573



1     593 F.3d 1135 2010 (citations omitted).        As the Master of the

2     Conception, defendant owed a duty of care to his crew and the victims

3     who entrusted their lives to him over the Labor Day Weekend trip.

4     United States v. Technic Servs., Inc., 314 F.3d 1031, 1048 (9th Cir.

5     2002) (position of trust “established from the perspective of the

6     victim”).   Defendant betrayed that trust, not only through his

7     failures on the night of the fire but also in his abdication of his

8     duties to train and drill his crew.

9          Second, as a licensed captain, defendant also had a “special
10    skill” that falls within Section 3B1.3.        Application Note 4 states
11    that “special skill” “refers to a skill not possessed by members of
12    the general public and usually requiring substantial education,
13    training or licensing.      Examples would include pilots, lawyers,
14    doctors, accountants, chemists, and demolition experts.”           (Emphasis

15    added.)   The enhancement specifically contemplates “licensing,” which

16    is exactly what defendant needed to obtain every five years in order

17    to continue captaining the Conception.        See Technic Servs., Inc., 314

18    F.3d at 1051 (defendant’s “license renders him eligible for an

19    enhancement under the ‘special skill’ prong” where it “appears that

20    he had the expertise and opportunity to commit his crimes only

21    because of this specialized skill”).        If an airplane pilot is within

22    the scope of Section 3B1.3, a commercial boat captain must be as

23    well.   Both operate means of transportation with dozens of

24    passengers, and require special training for the safe navigation of

25    their vessels.    See, e.g., United States v. Calderon, 127 F.3d 1314,

26    1339 (11th Cir. 1997) (“[W]e are convinced that captaining a vessel

27    on the high seas is the type of activity that requires skills not

28    possessed by members of the general public, and, therefore, requires

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 23 of 29 Page ID #:7574



1     ‘special skills’ within the meaning of section 3B1.3.”); United

2     States v. Ibarguen Palacios, 815 F. App’x 481, 485 (11th Cir. 2020)

3     (Section 3B1.3 applies to defendant piloting a boat).

4          But for his privileged position as a licensed captain, defendant

5     could not have committed this crime:        the reason why he was entrusted

6     with the lives of his 33 passengers and five crewmembers was his

7     special status as a credentialed mariner.         Armed with his special

8     skill as a licensed captain and the imprimatur it carried with his

9     passengers and crew, defendant nonetheless operated the Conception
10    with little regard for regulations or safety requirements.            His
11    special skill provided him the “expertise and opportunity” to commit
12    his crime through his recklessness and misconduct.          Technic Servs.,
13    Inc., 314 F.3d at 1051.      Defendant’s abuse of his special skill and

14    position of trust shows why the two-level enhancement applies.

15         C.    Grouping / Multiple Unit Adjustment

16         Pursuant to Section 2A1.4(b)(1), the one count of violating

17    Section 1115 must be treated as 34 counts, i.e., one putative count

18    for each person killed.      Because there is no basis to group the 34

19    putative counts under Section 3D1.2, they count as 34 separate units

20    under Section 3D1.4.     Section 3D1.4 contains a ceiling of five

21    additional levels for an offense involving more than five units,

22    regardless of the 34 units (i.e., 34 deaths) here, so only a five-

23    level enhancement applies pursuant to Section 3D1.4.           Nonetheless,

24    Section 3D1.4 provides that, “[i]nasmuch as the maximum increase

25    provided in the guideline is 5 levels, departure would be warranted

26    in the unusual case where the additional offenses resulted in a total

27    of significantly more than 5 Units.”        U.S.S.G. § 3D1.4 cmt.      As the

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 24 of 29 Page ID #:7575



1     USPO recognizes, given the scale of death and devastation caused by

2     defendant’s recklessness and misconduct, this is that unusual case.

3     V.   THE GOVERNMENT’S SENTENCING RECOMMENDATION

4          The Conception fire was the worst maritime disaster in

5     California history.     It was not an “accident” or “tragedy,” as those

6     terms are normally used and as the defense unsuccessfully argued to

7     the jury, because it was entirely preventable and was a predictable

8     result of defendant’s reckless conduct.         A strong message needs to be

9     sent to ship captains and the dive-boat industry that misconduct such
10    as defendant’s will result in severe punishment.          The recommended 10-
11    year prison sentence serves that purpose.
12         An above-Guidelines sentence is appropriate here for numerous
13    reasons, discussed above and below.         Perhaps most of all, the
14    Guidelines simply do not account for the manslaughter of 34 victims.
15    The grouping enhancement pursuant to Sections 2A1.4(b)(1) and 3D1.4
16    corresponds to only five deaths being caused by a manslaughter.
17    Here, defendant’s misconduct and gross negligence killed 34 people -–
18    34 people who all put their lives in defendant’s hands when they

19    stepped aboard the Conception.       The gravity of defendant’s offense

20    should be measured by the number of lives he caused to be lost.

21         The Guidelines do not account for such a massive scale of death,

22    and contemplate such situations where the offense level understates

23    the seriousness of the offense.       See generally U.S.S.G. § 5K2.0(a)(3)

24    (“A departure may be warranted in an exceptional case, even though

25    the circumstance that forms the basis for the departure is taken into

26    consideration in determining the guideline range, if the court

27    determines that such circumstance is present in the offense to a

28    degree substantially in excess of, or substantially below, that which

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 25 of 29 Page ID #:7576



1     ordinarily is involved in that kind of offense.”).          Indeed, the

2     Guidelines specifically provide that “[i]f death resulted, the court

3     may increase the sentence above the authorized range.”           U.S.S.G.

4     § 5K2.1.     Section 5K2.1 lists, as several of the factors to be

5     considered, “whether multiple deaths resulted” and “the extent to

6     which death or serious injury was intended or knowingly risked.”            Id.

7     Through his recklessness, defendant knowingly put at risk the lives

8     of the 34 victims whose deaths he caused on September 2, 2019 (not to

9     mention the lives of countless other passengers in the past). 3
10         The factors set forth in 18 U.S.C. § 3553(a) also necessitate a
11    sentence of 10 years’ imprisonment here.
12         A.      Nature and Circumstances of the Offense
13         The 34 deaths onboard the Conception were preventable.            None of
14    the victims should have died in the small fire that started in a
15    trash bin onboard the Conception.       There was not an explosion.       The
16    fire did not flashover in seconds.        The expert testimony presented at
17    trial established that the fire started small and took time to
18    develop. 4   The Court acknowledged this during trial, stating that

19    “[t]here is no evidence of a fast-starting fire.”          (Dkt. No. 372 at

20    51:24-25.)

21         The victims died because they were trapped in the bunkroom –-

22    trapped because defendant had not ordered a roving patrol to protect

23
           3 A 10-year sentence equates to a one-level upward departure or
24    variance from the Guidelines range -- specifically, from a range of
      87-108 months (offense level 29) to a range of 97-121 months (offense
25    level 30). This one-level increase would be the equivalent of just
      one additional unit, or death, under section 3D1.4 (for a total of
26    six victims), and not defendant’s 34 victims.
27         4 The fire experts testified that the fire started small.  Fire
      tests took an average of 27.5 minutes to develop to the point where
28    the crew would have first observed the fire from the upper deck.
      (Dkt. No. 366 at 38:3-21, 132:17-22.)
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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 26 of 29 Page ID #:7577



1     them from and alert them to emergencies at night.          A roving patrol

2     would have detected the fire, quickly started to fight it, alerted

3     the passengers, awoken other crewmembers, or taken other fast and

4     simple steps that would have saved lives.         Had defendant simply

5     followed the law, the COI, and prudent seamanship and put a roving

6     patrol in place, some or all of the victims would have survived.

7     Although the victims all died due to smoke inhalation, it was

8     defendant’s unlawful and reckless practices that killed them.

9          Defendant swore an oath to follow the law.          He broke that oath
10    when he failed to comply with any of the applicable Coast Guard
11    safety regulations, and defendant’s failures started well before the
12    fire even began.     Defendant did not provide any meaningful fire
13    training or any drills whatsoever for the inexperienced crew onboard
14    the Conception on September 2, 2019.        Defendant also failed to show
15    the passengers how to use the emergency exit from the bunkroom and
16    did not take any other basic fire safety precautions, such as
17    instructing passengers where to smoke cigarettes or not to overuse
18    outlets for charging batteries.

19         After the fire started, defendant worsened an already life-

20    threatening situation by failing to perform basic emergency actions.

21    Instead of using the Conception’s PA system to alert the passengers,

22    he chose to call the Coast Guard even though he knew any emergency

23    response was far away from his remote location.          Instead of getting

24    the fire axe or fire extinguisher within arm’s distance in the

25    wheelhouse, defendant jumped off the boat.         All the other crewmembers

26    went down to the main deck; defendant jumped into the water.            Even

27    the trapped passengers attempted to use a fire extinguisher to save

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 27 of 29 Page ID #:7578



1     themselves.    While the victims were fighting for their lives,

2     defendant was safely in the ocean.

3          Defendant created the deadly situation in which 34 victims found

4     themselves trapped in a windowless bunkroom.         Then he did nothing to

5     save them.

6          B.    Defendant’s History and Characteristics

7          Although defendant is 70 years’ old, he was not too old or

8     unable to do his job on September 2, 2019.         Accordingly, his age does

9     not justify a lenient sentence here.
10         Defendant was a very experienced captain who failed to comply
11    with basic regulations and rules of prudent seamanship.           Defendant
12    has held a master’s license for decades.         (Trial Exhs. 1, 4-10.)     He
13    cannot (credibly) claim that he did not know that the Coast Guard had
14    safety regulations that applied to him.        Defendant also knew, as all
15    captains do, that fire is a serious danger at sea –- that is why the
16    Conception had numerous fire extinguishers, smoke detectors, a fire
17    axe, two heavy-duty fire hose stations, and an engine room fire
18    suppression system.     And that is why Truth Aquatics’ Loss Control

19    Program, which defendant signed and acknowledged reviewing, listed

20    “Fire Fighting Procedures” as the number one set of protocols under

21    “Emergency Procedures.”      (Trial Exhs. 127, 128.)      Yet defendant chose

22    to do nothing to safeguard his passengers from fires at night.

23         Perhaps most importantly, defendant has never accepted

24    responsibility for any of his failures and the devastation he caused

25    on September 2, 2019.     Nor is there any indication that, before or

26    after his indictment in 2020, defendant has done a single thing to

27    contribute to his community or to manifest any remorse.           Instead, he

28    has chosen to point his finger at his boss, Glen Fritzler.            This sets

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 28 of 29 Page ID #:7579



1     defendant apart from defendants who take steps to apologize for or

2     remedy their actions, or otherwise contribute to society.

3          C.    Seriousness of the Offense, Promoting Respect for the Law,
                 and Just Punishment
4

5          The 34 deaths that resulted from defendant’s conduct warrant the

6     statutory maximum prison sentence.          Captains hold their passengers’

7     lives in their hands.     Miles out at sea, with rescue far away,

8     captains owe their passengers an incredibly high duty of care to keep

9     them safe, particularly from serious risks like fires.           That includes
10    following the applicable Coast Guard regulations and a ship’s
11    straightforward operating requirements (i.e., its COI).           Defendant
12    either did not read and follow the applicable requirements and

13    regulations for fire training, fire drills, and roving patrols before

14    taking dozens of passengers out to sea on the Labor Day Weekend trip

15    (much less countless others during his decades-long career), or he

16    read them and didn’t care.      Either scenario makes this offense

17    gravely serious and requires a lengthy sentence to reflect the

18    seriousness of the offense and promote respect for the law.

19         The sentence must also provide just punishment for the offense.

20    Defendant’s recklessness killed 34 people and forever shattered the

21    lives of their families and friends -- many of whom came to court

22    every day of the grueling trial in memory of their loved ones.            Their

23    own words best express the horror and devastation that defendant

24    brought upon their lives.      The government is filing under seal

25    herewith the victim impact statements it has received thus far.            As

26    is their right, a number of the victims’ family members will seek to

27    be heard in person at the sentencing hearing.         18 U.S.C.

28    § 3771(a)(4).

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     Case 2:22-cr-00482-GW Document 420 Filed 04/18/24 Page 29 of 29 Page ID #:7580



1           D.   Deterrence

2           Finally, general deterrence is a key objective in this case.              At

3     trial, the defense called several witnesses with captain’s licenses

4     to testify that they, too, did not maintain a roving patrol.            The

5     jury saw through defendant’s cynical attempt to mount a defense based

6     on others’ violations of their duties as captains.          But the apparent

7     reality remains that some captains are not following critical

8     requirements for safety at sea.       And the potential stakes of that

9     abdication remain life or death.
10          A light prison sentence would send the wrong message to captains
11    and excuse defendant’s misconduct.          When passengers die as a result
12    of the captain’s reckless conduct, the captain must be held
13    accountable.    Under no circumstances may captains abandon their
14    safety obligations.     Nor may reckless captains simply blame their
15    employers when disaster strikes.       Defendant’s failure to even attempt
16    to comply with any of the applicable training, drilling, and roving
17    patrol requirements underscores the need to send a message to ship
18    captains, the dive-boat community, and the general public.

19    VI.   CONCLUSION

20          For the foregoing reasons, the government respectfully requests

21    that the Court sentence defendant to (1) 10 years’ imprisonment,

22    (2) a three-year period of supervised release, (3) a special

23    assessment of $100, and (4) restitution to be determined at a

24    deferred restitution hearing.

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